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 3
                                     UNITED STATES DISTRICT COURT
 4
                                 NORTHERN DISTRICT OF CALIFORNIA
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 6   IN RE: SOCIAL MEDIA ADOLESCENT                         Case No. 4:22-md-03047-YGR
     ADDICTION/PERSONAL INJURY
 7   PRODUCTS LIABILITY LITIGATION                          MDL No. 3047
 8                                                          CASE MANAGEMENT ORDER NO. 6
     This Document Relates to:
 9   ALL CASES                                              Upcoming CMC Dates:
10                                                          December 13, 2023
                                                            January 26, 2014
11                                                          February 23, 2024
                                                            March 22, 2024
12

13   TO ALL PARTIES AND COUNSEL OF RECORD:
14          The Court held a further case management conference in the above-captioned matter on
15   November 16, 2023 after the Court issued its Order on the first set of motions to dismiss (“MTD
16   Order 1”). This order memorializes and expands upon the deadlines set and findings made by the
17   Court during that conference.
18          First, the Court notes that an additional Further Case Management Conference has been
19   scheduled on December 13, 2023 at 10:30 a.m. Parties shall submit a joint statement by no later
20   than December 6, 2023 (“December 2023 Statement”) addressing issues identified herein,
21   outlining any issues which they anticipate raising at the December case management conference,
22   and on which they request guidance or a ruling by the Court.
23          I.      Status of Individual Plaintiffs’ Personal Injury Claims
24          The individual plaintiffs shall review MTD Order 1 and decide whether they are
25   withdrawing any claims identified in the Master Amended Complaint (“MAC”). They shall so
26   indicate in the December 2023 Statement and, if so, outline a process for effecting the same.
27          ///
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 1           II.       Additional Dismissal Briefing

 2           After hearing argument from parties, the Court determined additional dismissal briefing

 3   shall be organized into the following four tracks:

 4           (1) the state Attorneys General complaint as well as Claims 7, 8, and 9 of the MAC;1

 5           (2) the remaining MAC claims;2

 6           (3) the forthcoming school district plaintiffs’ master complaint; and

 7           (4) claims asserted against defendant Mark Zuckerberg in his individual capacity.

 8   The first two tracks shall be briefed according to the following deadlines:

 9                 •   Motion to Dismiss: December 18, 2023

10                 •   Opposition Brief: February 5, 2024

11                 •   Reply Brief: February 26, 2024

12   As to the third track, the school district plaintiffs shall file their master complaint by no later than

13   December 18, 2023. Dismissal briefing relative to that complaint shall be subject to the below

14   deadlines:

15                 •   Motion to Dismiss: February 5, 2024

16                 •   Opposition Brief: March 4, 2024

17                 •   Reply Brief: March 25, 2024

18   Dismissal briefing on the fourth track, plaintiffs’ claims against Mr. Zuckerberg in his personal
19   capacity, shall proceed on a normal schedule pursuant to local rules with the accommodation of the

20   holidays:

21                 •   Motion to Dismiss: December 18, 2023

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             1
              Claims 7, 8, and 9 of the MAC concern, respectively, alleged unfair trade practices,
23   fraudulent concealment and misrepresentation, and negligent concealment and misrepresentation.
     The Court determines these claims are generally similar to the claims raised by the state Attorneys
24   General and can therefore be briefed at the same time efficiently.
            2
              As explained at the November case management conference, the individual plaintiffs’
25   negligence per se claims will be revisited at a later date and are not to be addressed in the next
     round of dismissal briefing.
26
            Separately, the Court clarifies that plaintiffs’ administrative motion to address their general
27   negligence cause of action in MTD Order 1 (Dkt. No. 388) is DENIED as such cause of action was
     not one of the priority claims they previously identified to be addressed in the Order.
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 1                 •   Opposition Brief: January 16, 2024

 2                 •   Reply Brief: January 23, 2024

 3          The below page limits shall govern the dismissal briefing address above:

 4                 •   Track 1: Defendants’ motion to dismiss shall not exceed 80 pages. The state

 5                     Attorneys General plaintiffs and individual plaintiffs shall each have 50 pages to

 6                     oppose. Defendants shall have 40 pages for their reply.

 7                 •   Tracks 2 & 3: Defendants’ motions to dismiss shall not exceed 60 pages. Plaintiffs

 8                     will have 60 pages to oppose, and defendants will have 30 pages for their reply.

 9                 •   Track 4: Parties shall adhere to this District’s Local Rules regarding page limits.

10          The Court will entertain requests for extensions of the above page limits at the previously

11   scheduled December 13, 2023 further case management conference. To the extent parties wish to

12   make such requests, they are put on notice that detailed justifications will be expected (i.e., outline

13   of the legal issues addressed in the briefs, their complexity, and the pages required to adequately

14   address them).

15          III.       Plaintiffs Counsel

16                     A. Clarification and Modification of the All Leadership Appointments

17          The Court has always considered the appointment of Co-Lead Counsel, Liaison Counsel, and
18
     the Steering Committee (“PSC”) to be of a personal nature. Appointees cannot be substituted by other
19
     attorneys, including members of the appointee’s law firm, to perform the PSC’s exclusive functions,
20
     such as committee meetings and court appearances, except with prior approval of the Court.
21

22          While the Court has not yet imposed a requirement to have a special master or accountant

23   manage attorney fee billings, the Court has always been, and continues to be, concerned with the

24   breadth of the leadership structure requested by all attorneys. Thus, to provide oversight for
25
     efficiency and quality, as well as compliance with this Court’s orders, all appointments shall be in
26
     effect for one year ending on the last day of January.
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            The Court does not anticipate making any changes to appointments for the calendar year
 1

 2   2024. That said, all appointed counsel must nonetheless submit a request for reappointment by no

 3   later than the last Friday in December. The requests shall contain references to the nature and

 4   scope of their work as Co-Lead Counsel, Liaison Counsel, or on the PSC, including the time and
 5
     resources expended both personally during the prior term and in a supervisory capacity. To the
 6
     extent others from the appointee’s firm have also expended time and resources, that shall be
 7
     explained as well. Generally, requests for reappointment should be in letter format (not to exceed
 8
     four pages) attaching a chart with the specifics on time and resources expended. The requests and
 9

10   accompanying statements should be made in camera and submitted to

11   ygrchambers@cand.uscourts.gov with the subject line entitled “MDL Request for Reappointment.”
12
                    B. School District Leadership
13
            The Court heard argument from attorneys present at the further case management
14
     conference who wished to be considered for plaintiffs’ leadership roles. The Court explained that
15
     applications from additional counsel for appointment to such roles would be accepted through
16
     Friday, November 17, 2023 at 12:00 p.m. Pacific time and interviewed additional applicants who
17
     were not present at the conference.
18
            Not surprisingly, more applications exist than leadership slots. The Court has consulted
19
     with other judicial colleagues, and strongly considers the need for geographic diversity and the
20
     existence of current clients participating in this MDL. Currently, leadership includes attorneys
21
     from California (northern and southern), New Jersey, Washington, D.C., Florida, Alabama, New
22
     York, Washington, Pennsylvania (eastern), Louisiana, and Texas.
23
            Accordingly, the Court agrees with the change in role of Michael Weinkowitz and appoints
24
     him co-chair of the subcommittee along with Melissa Yeates (representing City of Providence,
25
     Rhode Island). The following additional attorneys are appointed to the subcommittee all of whom
26
     have existing clients in the MDL and bring geographic diversity: Ronald Johnson & Sarah Emery
27
     (Kentucky, Indiana), Thomas Cartmell (Missouri, with school district clients in Alaska, Colorado,
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 1   Florida, Georgia, Nevada, and Virginia), and Joseph Meltzer (same firm as Melissa Yeates).3 Other

 2   than Mr. Weinkowitz, these new appointments are relieved of submitting any additional

 3   information. Appointments are in effect until January 31, 2025.

 4                  C. State Attorneys General Leadership

 5          The Court agrees that it discerns no purpose in imposing a leadership structure on the state

 6   Attorneys General who are already coordinating amongst each other. (See Dkt. No. 434, Status

 7   Update Regarding Plaintiffs States’ Leadership.)

 8          IV.     Plaintiffs’ Fact Sheets for Personal Injury Actions

 9          Parties represent that efforts to finalize plaintiffs’ fact sheets are ongoing in the parallel

10   California Judicial Council Coordination Proceedings (“JCCP”) but are likely to conclude in the

11   coming weeks. In light of this, the Court ORDERS parties to meet and confer regarding the

12   development of a fact sheet for use in this litigation and a proposed form of implementation order.

13   Parties shall address the status of their meet and confer efforts in the joint statement to be

14   submitted no later than December 6, 2023.

15          V.      Discovery

16          The discovery stay is VACATED and discovery is now open. Disputes relating thereto shall

17   be submitted to Magistrate Judge Kang. The Court shall not engage on topics that are better suited

18   for resolution by another judicial officer. Thus, parties shall direct concerns regarding additional
19   productions of documents, the issuance of a child sex abuse materials protective order, and the

20   outstanding protective order dispute to Magistrate Judge Kang. Given his recent appointment to

21   this MDL, the Court has asked the parties to resubmit their disputes and requests for relief from

22   Magistrate Judge Hixson’s pretrial order for a fresh look as Magistrate Judge Kang will be

23   overseeing the discovery. In this regard, the motion currently pending at Docket Number 303 is

24   denied without prejudice to refiling if not resolved by Magistrate Judge Kang.

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             Accordingly, Mr. Cartmell’s motion for appointment, pending at Dkt. No. 413, is
     GRANTED. Similarly, the motion filed by Mr. Johnson and Ms. Emery, pending at Dkt. No. 428, is
27   also GRANTED. Motions for appointment filed by various other counsel and pending at Dkt. Nos.
     413, 422, 423, 424, and 441 are DENIED.
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 1          VI.       Outstanding Coordination Order Dispute

 2          As discussed at length at the November case management conference, the exact nature of

 3   the parties’ coordination order dispute is unclear, especially in light of the myriad developments in

 4   this litigation since the dispute was first raised in May 2023. Further, the state Attorneys General

 5   have not yet been included in discussions between the individual plaintiffs and defendants

 6   regarding the issuance of a coordination order. Based thereon, the Court ORDERS parties,

 7   including the state Attorneys General, to meet and confer regarding the issuance of a mutually

 8   agreeable coordination order. To the extent parties are unable to come to an agreement, they are

 9   ORDERED to identify with specificity the nature of their disputes in the joint statement due to the

10   Court by no later than December 6, 2023.

11          VII.      Further Case Management Conferences

12          The Court SETS Further Case Management Conferences at the following dates and times:

13                •   January 26, 2024 at 2:30 p.m.

14                •   February 23, 2024 at 2:30 p.m.

15                •   March 22, 2024 at 2:30 p.m.

16   The Court is scheduled to be in trial on each of those days. If the Court is not in trial, every effort

17   will be made to advance the conferences scheduled for those days to the mornings. The Court will

18   provide sufficient notice of any schedule changes in the form of an entry on the docket.
19          This terminates Dkt. Nos. 388, 413, 422-24, 428, and 441.

20          IT IS SO ORDERED.

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     Dated: November 21, 2023
23                                                             YVONNE GONZALEZ ROGERS
                                                              UNITED STATES DISTRICT JUDGE
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